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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF MISSISSIPPI
ABERDEEN DIVISION

WILL MCRANEY PLAINTIFF
Vv. Civil No. 1:17-CV-00080-GHD-DAS

THE NORTH AMERICAN MISSION BOARD
OF THE SOUTHERN BAPTIST CONVENTION DEFENDANT

 

ORDER GRANTING MOTION TO FILE
EXHIBIT UNDER SEAL

 

Presently before the Court is the Baptist Convention of Maryland/Delaware, Inc.’s
(BCMD”) Motion to Seal Exhibit 13 to the Defendant NAMB’s motion for summary judgment
[267]. Upon due consideration, the Court finds that the motion to seal should be granted.

Given the nature of the subject exhibit, and that sensitive nonpublic information is
contained within this exhibit [263-14], the Court finds that BCMD’s request meets the standard
for the sealing of documents. The Court therefore finds that, consistent with the requirements of
Uniform Local Civil Rule 79, which governs the process for the sealing and restricted filing of
court records, the subject exhibit and any references to it in any supporting memoranda shall be
filed under seal, with CM/ECF access to the subject exhibit limited to court personnel and the
litigants’ counsel,

Accordingly, the Court ORDERS that BCMD’s Motion to Seal Exhibit 13 to the Defendant
NAMB's motion for summary judgment [Doc. 267] is GRANTED; consistent with the
requirements of Uniform Local Civil Rule 79, the subject exhibit and references to it in supporting
memoranda are hereby to be docketed as SEALED from public access with CM/ECF access

permitted solely to court personnel and the litigants’ counsel.
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SO ORDERED THIS the ES tay of May, 2023.

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SENIOR U.S. DISTRICT COURT JUDGE

 
